Case 4:09-cr-00043-SPF Document 66 Filed in USDC ND/OK on 05/15/09 Page 1 of 10




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA

                   Plaintiff,
                                            Case No. 09-CR-043-SPF

v.

LINDSEY KENT SPRINGER,
OSCAR AMOS STILLEY

                   Defendants.

MEMORANDUM OF LAW IN SUPPORT OF SPRINGER’S EIGHTH MOTION TO DISMISS
 GRAND JURY INDICTMENT FOR VIOLATIONS OF FOURTH AND FIFTH AMENDMENT
                     AND SELECTIVE PROSECUTION

      Lindsey Kent Springer, files this Memorandum of Law in support of his Eighth

Motion to Dismiss the document labeled “INDICTMENT” dated March 10, 2009,

based upon the United States and its Internal Revenue Service relying upon

violations of Springer’s Fourth and Fifth Amendment Rights in securing the evidence

to present to the Grand Jury, and for selective prosecution.

A.    SUMMARY OF THE CHARGES RELATED TO THIS MOTION

      Count One through Six allege Springer defrauded, falsely stated, and failed

to act as required by law.

B.    LEGAL ARGUMENT IN APPLICABLE TO THIS MOTION IN FAVOR OF DISMISSAL

      The Fourth Amendment guarantees Springer the absolute right to be free




                                        1
Case 4:09-cr-00043-SPF Document 66 Filed in USDC ND/OK on 05/15/09 Page 2 of 10




from unreasonable searches and seizures1 carried out by virtue of federal authority.

Id. And "where federally protected rights have been invaded, it has been the rule

from the beginning that courts will be alert to adjust their remedies so as to grant

the necessary relief." Bell v. Hood, 327 U.S., at 684 (footnote omitted); see Bemis

Bros. Bag Co. v. United States, 289 U.S. 28, 36 (1933) (Cardozo, J.); The Western Maid,

257 U.S. 419, 433 (1922) (Holmes, J.).

      The Fourth Amendment protects the citizen against unlawful searches and

seizures. The Fifth Amendment secures him from compulsory testimony

against himself. And these constitutional provisions are to be liberally construed to

prevent impairment of the safeguards which they provide. Gouled v. United States,

255 U.S. 298, 41 S.Ct. 261, 65 L.Ed. 647; Gilbert v. United States, 10 Cir., 144 F.2d 568;

See Gilbert v. U.S., 163 F.2d 325, 326 (10th Cir. 1947)

      In Gouled v. United States, 255 U.S. 298, 309, the Court said that search

warrants:

       "may not be used as a means of gaining access to a man's house or
      office and papers solely for the purpose of making search to secure
      evidence to be used against him in a criminal or penal proceeding.
      . . ." The Court derived from Boyd v. United States, supra, the
      proposition that warrants "may be resorted to only when a primary
      right to such search and seizure may be found in the interest which the
      public or the complainant may have in the property to be seized, or
      in the right to the possession of it, or when a valid exercise of the police
      power renders possession of the property by the accused unlawful
      and provides that it may be taken," 255 U.S., at 309; that is, when the
      property is an instrumentality or fruit of crime, or contraband. Since it


      1
          And persons, houses, papers and effects.

                                            2
Case 4:09-cr-00043-SPF Document 66 Filed in USDC ND/OK on 05/15/09 Page 3 of 10




      was "impossible to say, on the record . . . that the Government had
      any interest" in the papers involved "other than as evidence against
      the accused . . .," "to permit them to be used in evidence would be,
      in effect, as ruled in the Boyd Case,2 to compel the defendant to
      become a witness against himself." Id., at 311. See Warden v. Hayden,
      387 U.S. 294, 302 (1967)

      A search under the Fourth Amendment "occurs when an expectation of

privacy that society is prepared to consider reasonable is infringed." United States

v. Jacobsen, 466 U.S. 109, 113, 104 S.Ct. 1652, 80 L.Ed.2d 85 (1984). Whether an

individual has a constitutionally protected reasonable expectation of privacy in an

object or place is a two-fold inquiry: (1) whether the individual has manifested a

subjective expectation of privacy in the object or place to be searched and (2)

whether that expectation is one society is prepared to recognize as reasonable.

United States v. Hatfield 333 F.3d 1189, 1195 (10th Cir.2003). "[T]he burden of

establishing a legitimate expectation of privacy is on the party claiming a Fourth

Amendment violation, and we have applied that same rule to a claimed invasion

of the curtilage." United States v. Cavely, 318 F.3d 987, 994 (10th Cir.2003) (citation

omitted). It is well-settled an individual has a reasonable expectation of privacy in

the interior of one's home and its curtilage. Kyllo v. United States, 533 U.S. 27, 34, 121

S.Ct. 2038, 150 L.Ed.2d 94 (2001); Oliver v. United States, 466 U.S. 170, 180, 104 S.Ct.

1735, 80 L.Ed.2d 214 (1984); see also Hatfield, 333 F.3d at 1196 ("[P]rivacy in the

interior of a home and its curtilage are at the core of what the Fourth Amendment




      2
          Boyd v. United States, 116 U.S. 616, 630 (1886)

                                            3
Case 4:09-cr-00043-SPF Document 66 Filed in USDC ND/OK on 05/15/09 Page 4 of 10




protects. . . ."). See Reeves v. Churchich, 484 F.3d 1244, 1254 (10th Cir. 2007)

       The Supreme Court has held that "capacity to claim the protection of the

Fourth Amendment depends . . . upon whether the person who claims the

protection of the Amendment has a legitimate expectation of privacy in the

invaded place." Rakas, supra, at 143. See also Rawlings v. Kentucky, 448 U.S. 98, 106

(1980). The text of the Amendment suggests that its protections extend only to

people in "their" houses. Minnesota v. Carter, 525 U.S. 83, 88-89 (1998)

C.     THIS COURT SHOULD DISMISS THE CLAIMS IN EACH COUNT OF THE GRAND JURY
       INDICTMENT BECAUSE THEY ARE MAINTAINED BASED UPON CONSTRUCTION OF
       CERTAIN EVIDENCE OBTAINED IN VIOLATION OF SPRINGER’S FOURTH AND FIFTH
       AMENDMENT RIGHTS.

       The indictment in this case is based upon Fourth and Fifth Amendment

violations.3   There is not one item listed on the “items to be seized” of the search

warrant in this case that could be considered “contraband” or “instrumentality or

fruit of a crime.”4 In fact, everything listed were intended to be used solely against

Springer and in his own words at some possible future criminal proceeding. The

Government has absolutely no interest in any information Springer maintained at

       3
       These claims differ from the Fifth Motion to Dismiss in that these claims
involve the false statements tendered to Springer during the Donna Meadors
assault beginning in 2003 and ending in early 2005, as well as the search of
Springer’s home in 2005 solely looking for things Springer had written or said
contained in his private home.
       4
       Springer is also filing for a Frank’s Hearing by June 1, 2009, as ordered by
the Court and though there are some overlap between that Motion and the
Eighth Motion to Dismiss. This Motion solely raises dismissal claims based upon the
usage of information before the Grand Jury obtained unlawfully and should be
considered separately but along side the Frank’s Motion

                                          4
Case 4:09-cr-00043-SPF Document 66 Filed in USDC ND/OK on 05/15/09 Page 5 of 10




his home other than to gather evidence, in effect, as ruled in the Boyd Case, to

compel the defendant to become a witness against himself." Gouled v. United

States, 255 U.S. 298, 301. See also Warden v. Hayden, 387 U.S. 294, 302 (1967)

       Evidence that was obtained and used by Donna Meadors is also in the hands

of the Government by Ms. Meadors falsely inducing Springer to cooperate with her

6700 investigation based upon Meadors directly telling Springer that he was not

under any criminal investigation and that she was solely looking at whether Springer

was selling any tax abuse shelter program. Meadors at all times was working with

Mr. Reed, the civil/criminal coordinator for the IRS out of Oklahoma City, as well as

with other CID Agents and both Douglas Horn and Melody Noble Nelson.

       This is the same tactic Brian Shern used to obtain testimony from Oscar Stilley

that Agent Shern now seeks to use against both Springer and Stilley. Shern informed

Stilley that he was not under criminal investigation in early 2006, to subpoena Mr.

Stilley to testify before two Grand Juries, and only recently was Stilley informed by

the United States that in fact he has been under criminal investigation since at least

May, 2004. This is the date Mr. Patterson and Mrs. Patterson met with Melody Noble

Nelson.

       Donna Meadors worked with both Melody Nelson and Douglas Horn in the

Patterson Trial in late 2003. In fact, Douglas Horn and Melody Nelson were doing

an adjacent criminal investigation of both Springer and Stiley during the Patterson

Trial in late 2003.


                                          5
Case 4:09-cr-00043-SPF Document 66 Filed in USDC ND/OK on 05/15/09 Page 6 of 10




      The Grand Jury should never have been allowed to consider any testimony

of any person who participated in the unlawful gathering of information by Donna

Meadors and most certainly the Grand Jury should never have been allowed to

consider any evidence leading from Donna Meadors to Brian Shern which then

derived from Springer’s Home or Stilley’s mouth.

      Springer had two expectations of privacy. First, Springer would never have

given any information to Donna Meados had she divulged that she was doing a

criminal investigation of Springer generally or that she knew a criminal investigation

was ongoing. She specifically said she was solely investigating some “tape” for sale

on the internet which contained Springer’s voice from 1995. It was on these

contentions Springer provided the summoned information.

      Second, Springer had an expectation of privacy in his home. The only things

sought by the warrant were things testimonial in nature that the Government could

use to say look what Springer said or did. Such conduct is exactly what the Fourth

Amendment was to guard against and the Fifth Amendment was to catch and

stop from being used against Springer.

D.    THIS COURT SHOULD DISMISS ON GROUNDS OF SELECTIVE PROSECUTION.

      The “showing necessary to obtain discovery for a selective prosecution

defense must `itself be a significant barrier to the litigation of insubstantial claims.'"

James,257 F.3d at 1178 (quoting Armstrong, 517 U.S. at 464, 116 S.Ct. 1480).

Although defendants seeking discovery need not establish a prima facie case of


                                            6
Case 4:09-cr-00043-SPF Document 66 Filed in USDC ND/OK on 05/15/09 Page 7 of 10




selective prosecution, id. at 1178, they must satisfy a "rigorous standard," Armstrong,

517 U.S. at 468, 116 S.Ct. 1480. They must produce "some evidence" of both

discriminatory effect and discriminatory intent. Armstrong, 517 U.S. at 470, 116 S.Ct.

1480; accord United States v. Bass, 536 U.S. 862, 863, 122 S.Ct. 2389, 153 L.Ed.2d 769

(2002) (per curiam).

      The Internal Revenue Service and the U.S. Department of Justice had both

a discriminatory effect and purpose against Springer.

      Springer’s Bondage Breaker’s Ministry was to “get rid of the IRS.” It would be

hard to say that alone did not satisfy the discriminatory effect and purpose in

seeking the seventh Grand Jury to indict Springer for something.

      First, Springer witnessed what Douglas Horn and Melody Noble Nelson did in

2002 before Eddy Patterson and Oscar Stilley. This is demonstrated in the affidavits

filed by Oscar Stilley and Jerold Barringer in 2004 in the Patterson Criminal Case.

See Exhibit 1 and 2.

      Being fully aware of the threats Springer witnessed Horn make to Stilley and

Patterson while Nelson edged it on, more than suggests Nelson and Horn had a

strong motive to silence what Springer witnessed. Nelson told this Court in another

case that “based on prior experience with Springer. I was concerned that anything

I said to him might be taken out of context.” Exhibit 3, pg. 5

      The only other experience Springer had with Nelson was witnessing the 2002

threats she and Horn made against Eddy Patterson and Oscar Stilley. See Exhibit


                                          7
Case 4:09-cr-00043-SPF Document 66 Filed in USDC ND/OK on 05/15/09 Page 8 of 10




2, pg. 3, paragraph 12.

      Since Donna Meadors worked directly with Horn and Nelson in the criminal

trial of Eddy Patterson, and because she was pending at the time to become a

Criminal Investigator for the IRS, and within 2 weeks after the trial of the Pattersons,

Meadors summoned Springer falsely, there is simply no other way to see the strong

evidence that Springer was selected by Horn and Nelson, through a civil/criminal

coordinator, David Reed, to have Donna Meadors conduct a criminal investigation

of Springer and not to tell Springer.

      Meadors is the “agent” who made the criminal referral in this case which

Shern accepted on or about April 26, 2005 by his own declaration in 06-156.

      It is from here that Nelson and Horn’s illegal conduct led to the search of

Springer’s home looking for anything that could be used as testimony against

Springer that Springer said or drafted in paper or on computer in pursuit of his

mission.

      It is true Shern and others looked for illegal guns at Springer’s home but

amazingly guns were not even listed on the items to be searched “warrant.”

Everything was simply a fishing expedition and Springer’s liberty was the sought

after prize with no probable cause whatsoever to believe any contraband or

instrumentality or fruits of any crime were even sought in that illegal search.




                                           8
Case 4:09-cr-00043-SPF Document 66 Filed in USDC ND/OK on 05/15/09 Page 9 of 10




                                   CONCLUSION

      Lindsey K. Springer respectfully requests this Court dismiss all Six Counts of the

Grand Jury Indictment because all Six Counts were obtained by presenting

evidence illegally taken from Springer by Donna Meador, Douglas Horn, Melody

Noble Nelson, and David Reed, in the first instance, dealing with Meadors 6700

investigation, in violation of the Fifth Amendment Rights of Springer, and was also

obtained by Brian Shern, Douglas Horn and Melody Noble Nelson, violating the

Fourth Amendment Right of Springer to be secure in his person, house, papers, and

effects, and in violation of Springer’s Fifth Amendment not to be compelled to be

a witness against himself, by searching, taking and utilizing Springer words taken by

way of the Search Warrant from computers and other writings.




                                 Respectfully Submitted
                                 /s/ Lindsey K. Springer
                                 Lindsey K. Springer
                                 5147 S. Harvard, # 116
                                 Tulsa, Oklahoma 74135
                                 918-748-5539/955-8225(cell)




                                           9
Case 4:09-cr-00043-SPF Document 66 Filed in USDC ND/OK on 05/15/09 Page 10 of 10




                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of Lindsey Kent Springer’s

 Memorandum of Law in Support of his Eighth Motion To Dismiss was ecf’d on May

 15, 2009, to:


 Kenneth P. Snoke,
 Charles O’Reilly,
 Oscar Stilley




                          /s/ Lindsey K. Springer
                          Signature




                                         10
